                     Case 2:07-cr-00524-GEB Document 40 Filed 08/26/10 Page 1 of 2
AO 245D-CAED (Rev. 9/01) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                     v.                                                    (For Revocation of Probation or Supervised Release)
                                                                           (For Offenses committed on or after November 1, 1987)
            ANDREW EVAN WILSON
                      (Defendant’s Name)                                   Criminal Number: 2:07CR00524-02


                                                                           Dennis Waks, Assistant Federal Defender
                                                                           Defendant’s Attorney

THE DEFENDANT:
[U] adm itted guilt to violation of charge(s) 1 through 4 as alleged in the violation petition filed on 3/23/10 .
[]  was found in violation of condition(s) of supervision as to charge(s)     after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):

Violation Num ber                    Nature of Violation                                      Date Violation Occurred
See next page.




The court: [ ] revokes: [ ] modifies: [U] continues under same conditions of supervision heretofore ordered on 2/15/08 .

       The defendant is sentenced as provided in pages 2 through 2 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.

[]       Charge(s)        is/are dism issed.


         Any previously imposed criminal monetary penalties that remain unpaid shall rem ain in effect.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid.

                                                                 8/13/10
                                                                 Date of Im position of Sentence




                                                                 S ignature of Judicial O fficer



                                                                 GARLAND E. BURRELL, JR., United States District Judge
                                                                 Nam e & Title of Judicial Officer


                                                                 8/25/10
                                                                 Date
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AO 245D-CAED (Rev. 3/04) Judgment in a Criminal Case for Revocation Sheet I
CASE NUMBER:                2:07CR00524-02                                                        Judgment - Page 2 of 2
DEFENDANT:                  ANDREW EVAN W ILSON

                                                       ADDITIONAL VIOLATION
                                                                                Date Violation
Violation Num ber                    Nature of Violation                        Concluded

1                                    New Law Violation                          2/27/10

2                                    Unlawful Use of a Controlled Substance     2/1/10; 3/12/10

3                                    Failure to Notify of Change in Residence   3/12/10

4                                    Failure to Abstain from Alcohol            2/27/10
